          Case 5:23-cr-50047-TLB Document 31                         Filed 05/17/24 Page 1 of 6 PageID #: 117
AO 245B (Rev. 09/ 19) Judg ment in a Criminal Case
                      Sheet I



                                        UNITED STATES DISTRICT COURT
                                  Western District of Arkansas
                                                )
        UNITED ST ATES OF AMERICA               )     JUDGMENT IN A CRIMINAL CASE
                    v.                          )
                                                )
                                                )     Case Number:            5:23CR50047-00I
  VERONICA DEL CARMEN PINEDA DE AQUINO          )     USM Number:             683 13-510
                                                )
                                                )     Joe Alfaro
                                                )     Defendant's Atto mey(s)
THE DEFENDANT:
[gj pleaded guilty to count(s) One ( I) o f the Indictment on January 8, 2024
D pleaded nolo contendere to count(s)
    which was accepted by the court.

D was fo und g uilty on count(s)
    after a plea o f not guiltv.

The defendant is adj udicated gui lty o f these offenses:

Title & Section                    Nature of Offense
                                                                                                      Offense Ended               Count
18 U.S.C. § 1542                   Passport Fraud
                                                                                                       I 0/18/20 18                 I




       The defendant is sentenced as provided in pages 2 through          of th is j udgment. The sentence is imposed pursuant to
                                                                 - -6 - -
the Sentenci ng Reform Act of 1984.

D The defendant has been fo und not guilty on count(s)
[81 Count(s) _T_\_'10~ (2~)_ _ _ _ _ _ _ _ _ _ [81 is          D are dismissed on the motion of the United States.
         Tt is ordered that the defendant m ust notify the United States attorney for this district within 30 days of any change o f name,
residence, or mailing address until a ll fines, restitution, costs, and special assessments imposed by this j udgment are fully paid. If ordered
to pay restitution, the defendant must noti fy the court and United States attorney of material changes in economic circumstances.




                                                                      Honorable T imothy L. Brooks, Un ited States D istrict Judge
                                                                      Name and Title of Judge
              Case 5:23-cr-50047-TLB Document 31                     Filed 05/17/24 Page 2 of 6 PageID #: 118
AO 2458 (Rev. 09/19)   Judgment in Criminal Case
                       Sheet 2 - Imprisonment
                                                                                                Judgment - Page _ _
                                                                                                                  2_    of   6
DEFENDANT:                     VERONICA DEL CARMEN PINEDA DE AQUINO
CASE NUMBER:                   5:23CR50047-001


                                                        IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:     thirty-two (32) months.




       D The court makes the following recommendation to the Bureau of Prisons:




      181 The defendant is remanded to the custody of the United States Marshal.
      D The defendant shall surrender to the United States Marshal for this district:
        D at                                              D p.m. on
                - - - - - - - - - D a.m.
        D as notified by the United States Marshal.
      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        D before 1 p.m. on
        D as notified by the United States Marshal.
        D as notified by the Probation or Pretrial Services Office.

                                                              RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                   to

at      _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                              UNITED STATES MARSHAL




                                                                     By
                                                                          - - - - - -DEPUTY
                                                                                      - - -UNITED
                                                                                            ---     - -MARSHAL
                                                                                                  STATES ---------
           Case 5:23-cr-50047-TLB Document 31                        Filed 05/17/24 Page 3 of 6 PageID #: 119
AO 2458 (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                   JudJ?lllent-PaJ?e _ _
                                                                                                                       3_   of        6
DEFENDANT:                 VERONICA DEL CARMEN PINEDA DE AQUINO
CASE NUMBER:               5:23CR50047-001
                                                      SUPERVISED RELEASE

Upon release from imprisonment, you wi~l be on supervised release for a term of: three (3) years.
It is anticipated that the defendant will be deported by Immigration and Customs Enforcement (ICE) following her term of imprisonment.
Accordingly, if the defendant leaves the United States by way of deportation or otherwise after completion of her term of imprisonment
and, after such departure, again reenters the United States illegally, she will then be in immediate violation of a condition of supervised
release. If, prior to any deportation, the defendant is released on bond by ICE or if, after deportation, the defendant returns to the United
States legally, she shall-in either event-report to the nearest U.S. Probation Office within 72 hours of such release or return. Based on
these circumstances, the mandatory drug testing provisions of 18 U.S.C § 3583(d) are hereby waived.




                                                     MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            181 The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
4.    D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.    181 You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    D   You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                             Judgment- Page _ _ _4_ _ of _ _ _6~ - -
DEFENDANT:                   VERONICA DEL CARMEN PINEDA DE AQUINO
CASE NUMBER:                 5:23CR50047-00I

                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the followi ng standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identi fy the minimum tools needed
by probation officers to keep infom1ed, report to the court about, and bring about improvements in your conduct and condition.

I.   You must repo11 to the probation office in the federal j udicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
     time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowi ngly leave the federal j udicial district where you are authorized to reside without first getting permission from
     the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If
     notifying the probation officer in advance is not possible due to unanticipated ci rcumstances, you must notify the probation officer
     with in 72 hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
     to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of e mployment, unless the probation officer excuses you
     from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
     excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least
     10 days in advance is not possible due to unanticipated c ircumstances, you must notify the probation officer within 72 hours of
     becoming aware ofa cha nge or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
     probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must noti fy the probation officer within 72 hours.
I 0. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
     was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
     tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confide ntial human source or infom1ant
     without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (includi ng an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. T he probation officer may contact the
     person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.



De fendant's Signature                                                                                Date
                                                                                                             ------------
              Case 5:23-cr-50047-TLB Document 31                                    Filed 05/17/24 Page 5 of 6 PageID #: 121
AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                            Judgment - Page _5_      of        6
DEFENDANT:                            VERONICA DEL CARMEN PINEDA DE AQUINO
CASE NUMBER:                          5:23CR50047-001
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                 Assessment               Restitution                         Fine                   AVAA Assessment*             JVT A Assessment**
TOTALS         $ 100.00                 $ -0-                          $      2,500.00           $ -0-                       $ -0-


 D The determination of restitution is deferred until _ _ _ _. An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                             Total Loss***                              Restitution Ordered                  Priority or Percentage




TOTALS                            $                                             $
                                      ----------                                    ----------
 D Restitution amount ordered pursuant to plea agreement $

 D The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

~ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     ~ the interest requirement is waived for the              ~       fine     D restitution.
     D the interest requirement for the           D     fine       D       restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 1 IOA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 - Schedule of Pavments
                                                                                                       Judgment - Pa2e _....;6;..___ of     6
 DEFENDANT:                 VERONICA DEL CARMEN PINEDA DE AQUINO
 CASE NUMBER:               5:23CR50047-001

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     181 Lump sum payment of$            22600.00             due immediately, balance due

           □     not later than                                  , or
           181   in accordance with □         C    □    D,     □ E, or        181 Fbelow; or
B     □ Payment to begin immediately (may be combined with                  □ c,      DD,or      D F below); or

C     D Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $  _ _ _ _ _ _ over a period of
         _____ (e.J;{., months or years), to commence _ _ _ _ (e.J;{., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal      _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $  _ _ _ _ _ _ over a period of
         _____ (e.J;{., months or years), to commence      _ _ _ _ (e.J;{., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E     D Payment during the term of supervised release will commence within      _ _ _ _ _ (e.f!., 30 or 60 davs) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     181 Special instructions regarding the payment of criminal monetary penalties:
           If not paid immediately, any unpaid financial penalty shall be paid by the defendant during her term of imprisonment at a rate of up
           to 50% of the defendant's available funds, in accordance with the Inmate Financial Responsibility Program. The payment of any
           remaining balance shall become a condition of supervised release and shall be paid in monthly installments of $50.00 or 10% of the
           defendant's gross monthly household income, whichever is greater, with the entire balance to be paid in full no later than one month
           prior to the end of the period of supervised release.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D     Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                    Joint and Several               Corresponding Payee,
      (including defendant number)                           Total Amount                     Amount                          if appropriate




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: ( 1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, ( 6) fine interest, (7) community restitution, (8) NT A assessment, (9) penalties, and ( 10) costs, including cost of prosecution
and court costs.
